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                                                                                                             APR 10 2024
                              UNITED STATES DISTRICT COURT FOR THE
                                 NORTHERN DISTRICT OF GEORGIA                                            ~~~ P. ".:'EIMER, Clerk
                                                                                                         ~ ~1 y9erk

  CRAIG CUNNINGHAM,                                            §
  Plaintiff,                                                   §
                                                               §
  v.                                                           §
                                                               §
  Manasseh Jordan Ministries, Inc., et al                      §   1:22-cv-1 419
                                                               §
  Defendant                                                    §
                                                               §




                         Plaintiff's Notice regarding subpoeans and Certification

 1.    To the Honorabl e US District Court: Pursuant to the court's order on 4/2/2024, Plaintiff
                                                                                                    hereby certifies he has
       notified the targets of the subpoenas issued in this case that the subpoena s were quashed
                                                                                                    and no production is
       necessary as follows

2.     Chase- Sent via Fax, cert mail

National Subpoena Processing
JPMorgan Chase Bank, N.A.
 Mail Code LA4-7300
700 Kansas Lane
Monroe, LA, 71203 United States
Fax No.: 317-757-7421
Contact No.: 1-844-751-7728
via fax to 317-757-7421. ATTN:
Edith Frazier Ref SB 1545848-F1

BOA-sen ding via Cert mail, fax 980-233-7 070, Ref D0208240 0085 I, case 1 :22-cv
                                                                                      -1419-WM R

Paypal Sent via email

Carver FSB Sent via email

TD bank- Sent via email

Lawyer, send via email
         Case 1:22-cv-01419-WMR Document 68 Filed 04/10/24 Page 2 of 4




Court, send via regular mail




                                4/3/2023

Craig Cunningham, Plaintiff, Prerse 3000 Custer Road, ste 270-206, Plano, Tx 7507 5
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                          UNITED STATES DISTRICT COURT FOR THE
                             NORTIIERN DISTRICT OF GEORGIA


 CRAIG CUNNINGHAM,                                        §
 Plaintiff,                                               §
                                                          §
 v.                                                       §
                                                          §
Manasseh Jordan Ministries, Inc., Bullion Fitness Inc.,   §   l:22-cv-1419
Kingdom Ministries Church, Inc., Yakim Manasseh           §
Jordan, aka Manasseh Jordan, MJ Ministries Spread-        §
ing the Gospel, Inc., Steven Sledge, Aaron Jordan,        §
Naomi Cook, John/Jane Does 1-5

Defendant



                                     Plaintiff's Certificate of Service


I hereby certify a true copy of the foregoing was mailed and emailed to the Defendants and attor-

                                         ney of record in this case.




                                      4/3/2024


Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075
    Case 1:22-cv-01419-WMR Document 68 Filed 04/10/24 Page 4 of 4




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